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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Maria Guadalupe Angulo
                                   Plaintiff,
v.                                                     Case No.: 1:18−cv−02026
                                                       Honorable Andrea R. Wood
Spark Energy, LLC
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 24, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Plaintiff having filed a
notice of voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) [22], this case is
dismissed with prejudice and with each party to bear its own attorneys' fees and costs. All
pending hearing dates and motions are stricken. Civil case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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